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                              L E A I IW I L S O N                               CaseN unrber:               2:09CIt10042-001
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n        The defendnnt
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n                   shallpaythe folldwingcoult cost(s):
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